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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
Nancy Worley, et al.
                       Plaintiffs

              v.                                    CA No.1:12 CV 2069
                                                    Judge Royce C. Lamberth

The Islamic Republic of Iran, et al.
                    Defendants

               MEMORANDUM IN SUPPORT OF PLANTIFF’S
             MOTION FOR SUBSTITUTION OF A PROPER PARTY


       Plaintiffs, Nancy Worley, et al., by counsel, pursuant to the provisions of Federal Civil

  Rule 25 (a)(1), herewith submit this memorandum in support of the Plaintiffs Motion for

  Substitution of a Proper Party and pursuant to this Court’s Order of December 8, 2014.

       Plaintiff Arley Buckmaster passed away on December 13, 2004 from hypertensive and

  atherosclerotic cardiovascular disease. Arley Buckmaster was the father of John B.

  Buckmaster, a Marine killed in the October 23, 1983 Marine Barracks Bombing. Mr.

  Buckmaster’s connection to the bombing is articulated in the affidavit submitted on his estates

  behalf and signed by Gregg Buckmaster, his living son. See Exhibit A. Plaintiffs pray the

  Court will grant this motion for substitution of a proper party in favor of Gregg Buckmaster,

  so that the estate’s claims may be heard by this Court.

       It has come to the attention of Plaintiffs’ counsel that Roscoe Hamilton passed away in

  2013 during the pendency of this action. Plaintiffs attach the affidavit signed by decedent’s

  representative, the death certificate and last will and testament of Roscoe Hamilton as Exhibit

  B. The Decedant’s Representative and widow, Dorothea Hamilton, is in the process of

  applying for the proper probate court declarations that will grant her powers of administration
  over this estate for the purposes of this litigation. Plaintiffs pray the Court will grant this
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motion for substitution of a proper party in favor of Dorothea Hamilton, so that the estate’s

claims may be heard by this Court.

    Wherefore, Plaintiffs pray that the Motion be granted and that the attached Order be

entered.

March 23, 2015                                  Respectfully submitted,

                                                FAY KAPLAN LAW, PA

                                                Thomas Fortune Fay______
                                                THOMAS FORTUNE FAY
                                                Unified Bar No. 23929

                                                Caragh Glenn Fay_________
                                                CARAGH GLENN FAY
                                                U.S.D.D.C. Bar No. 16955


                                                William C. Dowden, III
                                                WILLIAM C. DOWDEN, III
                                                U.S.D.D.C. Bar No. MD18451
                                                777 Sixth Street NW, Ste. 410
                                                Washington, D.C. 20001
                                                (202) 589-1300
                                                Attorneys for Plaintiffs
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                             CERTIFICATE OF SERVICE



        I hereby certify that on this 23nd day of March, 2015, copies of the Motion to
Appoint a Special Master were electronically sent to counsel of record via the Court’s ECF
notification system.

                                                /s/ William C. Dowden, III
                                                William C. Dowden, III, Esq.
